              Case 5:21-cv-00844-XR Document 439 Filed 06/15/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.             §
                                               §
Plaintiffs,                                    §
                                               §
vs.                                            §      Case No. 5:21-CV-0844-XR
                                               §      (Consolidated Cases)
GREGORY W. ABBOTT, et al.                      §
                                               §
Defendants.                                    §
                                               §

        UNOPPOSED MOTION TO WITHDRAW APPEARANCE OF COUNSEL

        Please take note that Haley K. Costello Essig, hereby respectfully moves the Court to

permit her to withdraw as counsel of record for Plaintiffs LULAC Texas, Voto Latino, Texas

Alliance for Retired Americans, Texas AFT. Ms. Costello Essig departed Elias Law Group LLP

effective June 13, 2022. Plaintiffs will continue to be represented by Elias Law Group LLP.

Defendants’ counsels of record do not oppose this motion for withdrawal.



Dated: June 15, 2022.                 Respectfully submitted,

                                      /s/ Haley K. Costello Essig
                                      Marc E. Elias*
                                      Uzoma N. Nkwonta*
                                      Haley Costello Essig*
                                      Graham W. White*
                                      Joseph Posimato*
                                      Meaghan E. Mixon*
                                      Haley K. Costello Essig
                                      Noah B. Baron*
                                      Marcos Mocine-McQueen*
                                      Michael B. Jones*
                                      Christopher D. Dodge*
                                      Elena Rodriguez Armenta*
                                      ELIAS LAW GROUP LLP
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Case 5:21-cv-00844-XR Document 439 Filed 06/15/22 Page 2 of 3




                      10 G Street NE, Suite 600
                      Washington, D.C. 20002
                      Telephone: (202) 968-4490
                      melias@elias.law
                      unkwonta@elias.law
                      hessig@elais.law
                      gwhite@elias.law
                      jposimato@elias.law
                      mmixon@elias.law
                      hessig@elias.law
                      nbaron@elias.law
                      mmcqueen@elias.law
                      mjones@elias.law
                      cdodge@elias.law
                      erodriguezarmenta@elias.law

                      Jonathan Patrick Hawley*
                      ELIAS LAW GROUP LLP
                      1700 Seventh Avenue, Suite 2100
                      Seattle, WA 98101
                      Telephone: (206) 656-0179
                      jhawley@elias.law

                      Counsel for Plaintiffs LULAC Texas,
                       Voto Latino, Texas Alliance for
                       Retired Americans, Texas AFT

                      *Admitted Pro Hac Vice




                               2
         Case 5:21-cv-00844-XR Document 439 Filed 06/15/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 15, 2022, I electronically served the foregoing

document via electronic mail on all counsel of record.

                                                         /s/ Haley K. Costello Essig
                                                         Haley K. Costello Essig




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